Case 9:24-cv-80679-WM Document 13-1 Entered on FLSD Docket 08/09/2024 Page 1 of 5




                         EXHIBIT A
          Joint Proposed Scheduling Order
Case 9:24-cv-80679-WM Document 13-1 Entered on FLSD Docket 08/09/2024 Page 2 of 5




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


  INTERNATIONAL HEALTH BRANDS, LLC,                           Case No. 9:24-cv-80679-DMM
  a Delaware limited liability company,

                         Plaintiff,

     vs.

  ASHLEE R. FOY, an individual;
  MICHAEL L. KAUFMAN, an individual;
  and KCM BRANDS, LLC, a Florida limited
  liability company,

                         Defendants.



                           JOINT PROPOSED SCHEDULING ORDER

           THIS MATTER is set for trial for the week of March 10, 2025, but the Parties are filing a

  motion to reset the trial to February 1, 2026. This matter is assigned to the Complex Track. The

  Parties shall adhere to the following schedule:

   August 28, 2024                The Parties shall furnish their initial disclosures pursuant to Fed.

                                  R. Civ. P. 26. The Parties are under a continuing obligation to

                                  furnish supplements within ten (10) days of receipt or other notice

                                  of new or revised information.


   60 days from the decision The Parties shall file motions to amend pleadings or join Parties.
   on the pending motion to
   dismiss (ECF No. 11).

   September 15, 2025             The Plaintiff shall disclose experts, expert witness summaries and

                                  reports, as required by Federal Rule of Civil Procedure 26(a)(2).




                                                   -1-
                                 Schedule Jointly Proposed by the Parties
                                          9:24-cv-80679-DMM
Case 9:24-cv-80679-WM Document 13-1 Entered on FLSD Docket 08/09/2024 Page 3 of 5




   October 15, 2025        Defendants shall disclose experts, expert witness summaries and

                           reports, as required by Federal Rule of Civil Procedure 26(a)(2).


   October 29, 2025        The Parties shall exchange rebuttal expert witness summaries and

                           reports, as required by Federal Rule of Civil Procedure 26(a)(2).


   November 14, 2025       The Parties shall complete all discovery, including expert

                           discovery.


   October 15, 2025        The Parties shall file all dispositive pre-trial motions and

                           memoranda of law.


   December 15, 2025       The Parties shall file all motions to strike or exclude expert

                           testimony, whether based on Federal Rule of Evidence 702 and

                           Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

                           (1993), or for any other reason. If a favorable ruling on the

                           motion(s) would be case dispositive, however, all such motions

                           must be filed by the dispositive motion deadline.


   6 Weeks before          Parties shall each file one motion in limine. All motions in limine
   Calendar Call
                           must be filed at least six (6) weeks before calendar call.


   4 Weeks before          The Parties shall file their joint pretrial stipulation, witness lists,
   Calendar Call
                           and exhibit lists in accordance with Local Rule 16.1(d) and (e).

                           The Parties shall also file final proposed jury instructions or

                           conclusions of law (for non-jury trials).



                                            -2-
                          Schedule Jointly Proposed by the Parties
                                   9:24-cv-80679-DMM
Case 9:24-cv-80679-WM Document 13-1 Entered on FLSD Docket 08/09/2024 Page 4 of 5




   4 Weeks before              The Parties shall submit their deposition designations.
   Calendar Call


   ____________                Date certain for resolution of all pretrial motions by the Court.

   ____________                Date certain for the date of pretrial conference.

   ____________                Date certain for trial.

          Additionally,


   None                         Any agreements or issues to be decided by the Court regarding

                                the preservation, disclosure, and discovery of documents,

                                electronically stored information, or things.

   In the event material that is Any agreements the parties reach for asserting claims of
   claimed     privileged      or
   protected as trial preparation privilege or protection of trial preparation material after
   material is unintentionally
   produced, the producing production.
   party shall notify the
   receiving party as soon as
   reasonably practical, and the
   receiving party shall not
   used the material except
   upon further of the court.

   None                         Any proposed use of the Manual on Complex Litigation and any

                                other need for rule variations, such as on deposition length or

                                number of depositions.




                                                -3-
                              Schedule Jointly Proposed by the Parties
                                       9:24-cv-80679-DMM
Case 9:24-cv-80679-WM Document 13-1 Entered on FLSD Docket 08/09/2024 Page 5 of 5




         Dated: August 9, 2024.                       Respectfully submitted,
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                                                -4-
                              Schedule Jointly Proposed by the Parties
                                       9:24-cv-80679-DMM
